                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


  TABATHA HUTSON,                                  )
                                                   )
                Plaintiff,                         )
                                                   )
  v.                                               )             No. 3:18-CV-048
                                                   )             Judge Phillips
  CONCORD CHRISTIAN SCHOOL, LLC,                   )
                                                   )
                Defendant.                         )


                                          ORDER

         Due to conflicts with the Court’s criminal docket, this case cannot be tried on the

  existing trial date. It is therefore ORDERED that this civil action is RESET FOR TRIAL

  on Tuesday, December 3, 2019, at 9:00 a.m. in Knoxville. The final pretrial conference

  is RESET for Wednesday, November 13, 2019, at 11:00 a.m. in Knoxville.                 The

  scheduling order remains in effect, and all pretrial deadlines contained in that order that

  were pending as of the entry of this order are continued to conform to the new trial date.

                IT IS SO ORDERED.

                                                          ENTER:


                                       s/ Thomas W. Phillips
                                     SENIOR UNITED STATES DISTRICT JUDGE




Case 3:18-cv-00048-TWP-DCP Document 35 Filed 07/18/19 Page 1 of 1 PageID #: 346
